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                                         UNITED STATES DISTRICT COURT
                                                       DISTRICT OF OREGON

                                                       PORTLAND DIVISION

AMERICAN REFINING AND
BIOCHEMICAL, INC.,
                                                                          Case No. 3:20 - cv -00208 - YY
                Plaintiff ,
      vs.                                                                  AFFIDAVIT OF SERVICE

CYCLE POWER PARTNERS , LLC,

                Defendant.


STATE OF OREGON
County of Multnomah                            ss.

I, Edmund Knowles , being first duly sworn, depose and say that I am a competent person 18 years of
age or older, a resident of the State of Oregon and that I am not a party to nor an officer, director, or
employee of , nor an attorney for any party, corporate or otherwise; that I made service of a true copy
of :
  Summons in a Civil Action and Complaint; Plaintiffs Corporate Disclosure; Civil Cover Sheet;
 Civil Case Assignment Order; Discovery and Pretrial Scheduling Order; Fed. R. Civ. P. 26( a )( 1 )
Discovery Agreement; Consent to Jurisdiction by a Magistrate Judge and Designation of the Normal
       Appeal Route ; U .S . District Court - Oregon - Civil Case Management Time Schedules


Upon CYCLE POWER PARTNERS. LLC. by personal service upon Theresa Whisenhunt, the
clerk on duty in the office of the registered agent , Northwest Registered Agent LLC, 5305 River Rd
N Ste B , Keizer, OR 97303 on February 12, 2020 at 12:45 PM.
I declare under the penalty of perjury that the above statement is true and correct.
                                                                           /

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                                                                Edmund Knowles,/'"
SUBSCRIBED ANDSWORN BEFORE ME                                   Nationwide Procbss'Aervicc, Inc.
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                                               ^                1201 S .W. 12th Avenue, Suite 300
by Edmund Knowles
                     ^                                          Portland , OR 97205
       s3   ^
            "
                  UjMk
              . AA.
                                                                503-241-0636
Notary rubric

                         OFFICIAL STAMP
                SAMANTHA JO DAHL OLSON
            f     NOTARY PUBUC OREGON-
                  COMMISSION NO. 978868                                            *349291*
            MY COMMISSION EXPIRES SEPTEMBER 17, 2022
